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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

  In Re:                                                    Chapter 13
           LAWRENCE STACKHOUSE JR
           CAROLE STACKHOUSE                                Bankruptcy No. 23-11853-AMC

                                 Debtors

                                                ORDER

         AND NOW, upon consideration of the Motion to Dismiss Case filed by Kenneth E.
  West, Esq., Standing Trustee, and after notice and hearing, it is hereby ORDERED that this case
  is DISMISSED and that any wage orders previously entered are VACATED.

          IT IS FURTHER ORDERED if the case has been confirmed and the Trustee is holding
  funds, any undisbursed funds held by the Chapter 13 Trustee from payments made on account of
  the Debtor(s)’ plan shall be refunded to the Debtor(s) unless a party in interest files a Motion for
  Alternative Disbursement within 21 days of the entry of this Order.



Date: February 21, 2024

                                                    Honorable Ashely M. Chan
                                                    Bankruptcy Judge
